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 1                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
 2
                                                       )
 3
     IN RE: ROUNDUP PRODUCTS                           ) MDL No. 2741
 4   LIABILITY LITIGATION                              )
                                                       ) Case No. 3:16-md-02741-VC
 5                                                     )
                                                       ) ORDER GRANTING JOINT MOTION
 6   This document relates to:
                                                       ) TO ADD WAVE 9 SCHEDULE
     ALL ACTIONS                                       )
 7
                                                       )
 8                                                     )

 9          THIS MATTER came before the Court based on the Parties Joint Motion to Add Wave 9.
10   Having reviewed the Joint Motion, the proposed schedule below, and finding good cause shown, the
11   Court GRANTS the Joint Motion, adding Wave 9. Any cases added to the MDL or moved from the
12   inactive docket from the date of this Order until October 4, 2024 will be automatically placed in MDL
13   Wave 9E. Cases that were assigned in previous Waves 1-8, and already moved to a later Wave on at
14   least one occasion, will not be permitted to transfer to Wave 9 absent extraordinary circumstances.
15
     Wave 8 Schedule:
16

17   No changes from Order Granted on August 30, 2023.
18
     Wave 8 Schedule:
19
20                             Event                                               Date
21   The parties should file a letter brief identifying any                     11/11/2024
     disputes over the applicable state law for the wave 8 cases.
22   For cases where that is undisputed, the parties should file
     a stipulation identifying the governing state law.
23

24

25

26
27

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 1   Wave 8A Schedule

 2
                            Event                                Date
 3   Close of Wave 8A fact discovery                           9/6/2024
 4

 5   Plaintiffs’ expert reports due.                           9/9/2024

 6
     Monsanto’s expert reports due.                            10/9/2024
 7

 8
     Close of expert discovery.                                11/8/2024
 9

10

11   Wave 8B Schedule

12                          Event                                 Date
     Close of Wave 8B fact discovery                           10/9/2024
13

14
     Plaintiffs’ expert reports due.                          10/12/2024
15

16   Monsanto’s expert reports due.                           11/13/2024
17

18   Close of expert discovery.                               12/13/2024

19
20
     Wave 8C Schedule
21

22                          Event                                Date
     Close of Wave 8C fact discovery                          11/11/2024
23

24
     Plaintiffs’ expert reports due.                          11/15/2024
25

26   Monsanto’s expert reports due.                           12/16/2024
27

28   Close of expert discovery.                                1/15/2025


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 1   Wave 8 Briefing Schedule

 2                           Event                                             Date
     Monsanto’s Daubert and summary judgment briefs due.                    1/22/2025
 3
     Plaintiffs’ Daubert motions due                                        1/22/2025
 4
     Oppositions re: Daubert and summary judgment                           2/12/2025
 5   due.
 6   Replies re: Daubert and summary judgment due.                          2/26/2025
     Daubert hearing (if necessary).                                           TBD
 7

 8

 9   Wave 8 Case Assignments

10          The below cases are assigned to Wave 8 and are assigned the below sub-waves for expert

11   and discovery purposes as follows:
12   Wave 8A
13

14
                   Case Name              MDL Case No.             Transferor Court
15           Altomari, Ann Marie           3:23-cv-01746        US District Court of MN
16
            Anderson, Jacklyn Lee          3:20-cv-00848        US District Court Middle
17                                                                   District of FL
               Anderson, Michael           3:19-cv-06092        US District Court Middle
18                                                                   District of FL
                Bailey, Darrell            3:23-cv-01926        US District Court Middle
19                                                                   District of FL
20               Baker, Brenda             3:19-cv-05873        US District Court Eastern
                                                                    District of MO
21               Batts, Stanley            3:20-cv-05939        US District Court Eastern
                                                                    District of MO
22               Besse, Nikki              3:23-cv-03187        US District Court Eastern
                                                                    District of MO
23
            Billigen Sr., Thomas J.        3:22-cv-08892        US District Court of MN
24
               Birdstraw, Allison          3:23-cv-02167        US District Court Eastern
25                                                                  District of MO
                Briggs, Michael            3:23-cv-03156        US District Court Eastern
26                                                                  District of MO
27              Callahan, Tana             3:22-cv-05663        US District Court Eastern
                                                                    District of LA
28


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 1
              Case Name        MDL Case No.         Transferor Court
 2       Danowski, William      3:23-cv-00722   US District Court Middle
                                                     District of FL
 3
          Ditoro, Charles       3:23-cv-01960   US District Court Southern
 4                                                   District of FL
           Faulkner, Carl       3:23-cv-03158   US District Court Eastern
 5                                                   District of MO
         Goranson, Gordon       3:21-cv-06832   US District Court Northern
 6                                                    District of IN
 7        Gottstein, Ross       3:23-cv-02961   US District Court Middle
                                                     District of FL
 8        Gunn, Raymond         3:23-cv-03161   US District Court Eastern
                                                     District of MO
 9
      Hammons, Robert Wayne     3:22-cv-05286   US District Court Eastern
10                                                   District of KY
         Hinkson, Thomas        3:23-cv-03506   US District Court Eastern
11                                                   District of MO
         Hirvela, Kathleen      3:23-cv-00718   US District Court Northern
12                                                   District of FL
13        Howard, Walter        3:22-cv-05315   US District Court Eastern
                                                     District of MO
14        Hueckel, Jeanne       3:22-cv-09088   US District Court Middle
                                                     District of FL
15        Jackson, Clarice      3:22-cv-06599   US District Court Eastern
                                                     District of MO
16
          King, Genevieve       3:23-cv-02169   US District Court Eastern
17                                                   District of MO
           Kooi, Douglas        3:20-cv-06656   US District Court Western
18                                                   District of WA
          Lampert, Laurie       3:22-cv-05044   US District Court Middle
19                                                   District of FL
20         Levy, Robert         3:21-cv-07643   US District Court Southern
                                                     District of FL
21          Levy, Sally         3:23-cv-00761   US District Court Southern
                                                     District of FL
22
       Mazzeo, Peter Anthony    3:19-cv-02315   US District Court Western
                                                     District of WA
23
          Mellon, William       3:22-cv-01951   US District Court Middle
24                                                   District of FL
           Mercer, Lance        3:19-cv-06403   US District Court Western
25                                                   District of WA
26      Moreland Jr., Emory     3:20-cv-03069   US District Court Southern
                                                     District of GA
27       Occhipinti, Connie     3:22-cv-00470   US District Court Middle
                                                     District of FL
28


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 1
                   Case Name         MDL Case No.         Transferor Court
 2         Peterson, Berry Chase      3:22-cv-03830   US District Court Southern
                                                           District of TX
 3
           Piesik, Margaret Rae       3:19-cv-05660   US District Court Western
 4                                                         District of WA
               Shaffer, Steven A.     3:23-cv-01084   US District Court Northern
 5                                                          District of IL
                Tierney, Patrick      3:19-cv-01937   US District Court Western
 6                                                         District of WA
 7         Toyer, Joan Elizabeth      3:19-cv-06405   US District Court Western
                                                           District of WA
 8         Zarate, Juan Delgado       3:23-cv-03877   US District Court Eastern
                                                           District of CA
 9

10

11   Wave 8B

12

13                  Case Name        MDL Case No.         Transferor Court
                 Austin, Robert       3:22-cv-07589   US District Court Central
14                                                         District of CA
                  Banet, John         3:20-cv-07883   US District Court Southern
15                                                          District of IN
16              Buchanan, Mark        3:20-cv-03718   US District Court Middle
                                                           District of FL
17              Chapman, Dick         3:19-cv-06723   US District Court Middle
                                                           District of FL
18              Collier, Timothy      3:23-cv-03947   US District Court Middle
                                                           District of FL
19
               Cromack, Wayne         3:23-cv-00565    US District Court of MA
20
                Dennis, Alzonia       3:22-cv-03225    US District Court of NJ
21
                 Doherty, Sean        3:23-cv-01676   US District Court Western
22                                                         District of NY
23               Ellis, Timothy       3:19-cv-06091   US District Court Middle
                                                           District of FL
24                 Fazal, Faiz        3:22-cv-06071   US District Court Eastern
                                                           District of NC
25
               Ferrington, Charles    3:21-cv-06113   US District Court Western
26                                                         District of LA
                 Frueh, William       3:23-cv-01817   US District Court Western
27                                                         District of NY
                Godsey, Patricia      3:19-cv-00923   US District Court Southern
28                                                         District of TX

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 1
              Case Name        MDL Case No.         Transferor Court
 2         Grubb, Shawn         3:20-cv-09293   US District Court Western
                                                     District of OK
 3
         Harms, Nathan M.       3:23-cv-03876   US District Court Middle
 4                                                   District of NC
          Helmich, Gerald       3:20-cv-05941   US District Court Western
 5                                                   District of NY
         Hernandez, Edwin       3:19-cv-05872   US District Court Eastern
 6                                                   District of MO
 7       Howell, Tony Lee       3:20-cv-07322   US District Court Western
                                                     District of NC
 8         Jenkins, Nancy       3:23-cv-03507   US District Court Eastern
                                                     District of MO
 9
           Jizhak, Eugene       3:20-cv-04646   US District Court Southern
10                                                   District of CA
            Jolin, Jeffrey      3:23-cv-02001   US District Court Eastern
11                                                   District of MO
           Katz, Bernice        3:20-cv-01825   US District Court Eastern
12                                                   District of MI
13        Kimble, Nacole        3:21-cv-01334    US District Court of NV

14         Laury, Romeil        3:23-cv-01361   US District Court Eastern
                                                     District of MO
15         Luby Jr., John       3:22-cv-03830   US District Court Southern
                                                     District of TX
16
          Luther, Darlene       3:23-cv-03508   US District Court Eastern
17                                                   District of MO
             Means, Ira         3:23-cv-03509   US District Court Eastern
18                                                   District of MO
        Montgomery, Steven      3:20-cv-07397   US District Court Western
19                                                   District of LA
20        Morehart, Daniel      3:22-cv-06392    US District Court of MN

21        Morrissey, John       3:22-cv-05731   US District Court Middle
                                                     District of FL
22
           Munday, Chris        3:23-cv-00720   US District Court Middle
                                                     District of GA
23
          Nelson, Rebecca       3:23-cv-03511   US District Court Eastern
24                                                   District of MO
           Pagliaro, Lisa       3:23-cv-02246   US District Court Eastern
25                                                   District of MO
26         Parry, William       3:22-cv-03226   US District Court Southern
                                                     District of TX
27       Parsons, Kenneth J.    3:19-cv-02577   US District Court Western
                                                     District of WA
28


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 1
               Case Name         MDL Case No.        Transferor Court
 2         Pearson, Verna         3:19-cv-07525   US District Court Western
                                                      District of WA
 3
            Pease, Marc           3:21-cv-10049   US District Court Middle
 4                                                     District of FL
         Pellerin Sr., Gilbert    3:21-cv-04634   US District Court Western
 5                                                     District of LA
           Phelps, James          3:23-cv-03512   US District Court Eastern
 6                                                    District of MO
 7         Plank, Wilson          3:20-cv-03450   US District Court Middle
                                                       District of FL
 8        Plummer, Robert         3:23-cv-01269   US District Court Middle
                                                       District of FL
 9
             Powell, Pat          3:23-cv-03513   US District Court Eastern
10                                                    District of MO
         Pratt, Christopher       3:23-cv-00052   US District Court Middle
11                                                     District of FL
            Reid, Charles         3:22-cv-04080   US District Court Middle
12                                                     District of NC
13        Rhoades, Cherie         3:23-cv-03535   US District Court Eastern
                                                      District of MO
14          Ricke, Anne           3:19-cv-06090   US District Court Middle
                                                       District of FL
15       Ritcheson, Kenneth       3:23-cv-02170   US District Court Eastern
                                                      District of MO
16
         Roesky, Kathleen         3:23-cv-03570   US District Court Eastern
17                                                    District of MO
            Rogers, Loy           3:23-cv-02572   US District Court of MN
18
           Roman, Albert          3:22-cv-03855   US District Court Middle
19                                                     District of FL
20         Ruiz, Irene C.         3:22-cv-04716   US District Court Western
                                                       District of TX
21    Sammons, Douglas Victor     3:23-cv-00050   US District Court Northern
                                                       District of NY
22
       Sanders, Thomas Lake       3:19-cv-07401   US District Court Eastern
                                                       District of WA
23
           Scheh, Donald          3:20-cv-02427   US District Court Eastern
24                                                     District of TX
           Seieroe, David         3:21-cv-09840   US District Court Northern
25                                                      District of IA
26         Shedd Jr., Ray         3:20-cv-03833   US District Court Southern
                                                       District of MS
27        Stewart, Mark D.        3:20-cv-01835   US District Court Western
                                                       District of OK
28


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 1
                    Case Name       MDL Case No.        Transferor Court
 2               Storlie, John       3:19-cv-03785   US District Court Eastern
                                                         District of WA
 3
                Straub, Richard      3:22-cv-03829   US District Court of AZ
 4
                Sutton, Jackson      3:23-cv-00221    US District Court of MN
 5
           Von Staden, Richard       3:23-cv-01182   US District Court Middle
 6                                                        District of FL
 7          Walker, Tracy Dean       3:23-cv-02002   US District Court Eastern
                                                          District of MO
 8              Webb, Dan W.         3:20-cv-00493   US District Court Northern
                                                          District of MS
 9
               Westbrook, Norton     3:23-cv-02985   US District Court Middle
10                                                        District of FL
               Wilson, Robert S.     3:22-cv-07528    US District Court of MN
11
                 Wood, Johnny        3:22-cv-03818   US District Court Northern
12                                                        District of TX
13              Yeargain, Betty      3:22-cv-05976    US District Court of MN

14

15   Wave 8C

16

17                 Case Name        MDL Case No.         Transferor Court
          Albrecht, Michael David    3:20-cv-01636   US District Court Eastern
18                                                        District of MO
19              Aulakh, Amirk        3:23-cv-00603   US District Court Eastern
                                                          District of CA
20        Axelson, Kathleen Ann      3:19-cv-06400   US District Court Western
                                                          District of WA
21        Bartholomew, Michael       3:23-cv-01914   US District Court Northern
                                                           District of IA
22
            Benzel, Thomas Jay       3:19-cv-03462   US District Court Eastern
23                                                        District of WA
                Besser, Matthew      3:22-cv-05733   US District Court Southern
24                                                         District of IA
25              Bischoff, David      3:20-cv-05937   US District Court Eastern
                                                          District of MO
26              Bowe, William        3:22-cv-01229   US District Court Northern
                                                          District of OH
27               Bray, Beverly       3:19-cv-05060   US District Court Northern
                                                          District of CA
28


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 1
               Case Name            MDL Case No.         Transferor Court
 2         Bricker, Ricky            3:23-cv-00960   US District Court Southern
                                                           District of IA
 3
            Buntz, Robert            3:23-cv-03658   US District Court Western
 4                                                        District of WI
           Carmiel, Bilha            3:22-cv-03389    US District Court of NJ
 5
       Christy, Whitney Joseph       3:19-cv-03969   US District Court Eastern
 6                                                        District of LA
 7        Cilli, Gregory A.          3:23-cv-00147   US District Court Southern
                                                          District of CA
 8       Coe, John Edward            3:22-cv-01949   US District Court Western
                                                          District of WA
 9
      Crutchfield III, Charles E.    3:22-cv-08860    US District Court of MN
10
       Culler, Barbara Zellers       3:19-cv-06401   US District Court Western
11                                                        District of WA
            Curtin, Maria            3:23-cv-00471   US District Court Western
12                                                        District of PA
13          Daniels, Jerry           3:19-cv-05870   US District Court Eastern
                                                          District of MO
14         Delaney, Todd             3:22-cv-05646   US District Court Northern
                                                          District of CA
15         Delsuc, Laurent           3:19-cv-02079   US District Court Western
                                                          District of WA
16
        Demarmels, Michael           3:22-cv-04406   US District Court Southern
17                                                        District of NY
       Faschingbauer, Larry J.       3:17-cv-03202   US District Court Western
18                                                        District of WI
         Finneman, Connie            3:18-cv-07021   US District Court Eastern
19                                                        District of MO
20          Gebo, Ronald             3:17-cv-00168   US District Court Middle
                                                          District of FL
21          Gibson, Faith            3:22-cv-04399   US District Court Middle
                                                          District of FL
22
        Golling, John Michael        3:23-cv-02960   US District Court Western
                                                          District of WA
23
          Graves, Brent L.           3:21-cv-09832    US District Court of SD
24
        Greenwood, Elizabeth         3:22-cv-04830   US District Court Eastern
25                                                        District of PA
26      Harris Sr., Braxton B.       3:23-cv-02566   US District Court Northern
                                                          District of AL
27     Hayes, Michael Randy          3:21-cv-00965   US District Court Northern
                                                          District of AL
28


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 1
               Case Name         MDL Case No.         Transferor Court
 2      Hendrickson, Michael      3:22-cv-09090   US District Court Western
                                                       District of WA
 3
         Heuberger, James A.      3:23-cv-00717   US District Court Northern
 4                                                      District of IA
         Hogue, Christopher       3:19-cv-04117   US District Court Western
 5                                                     District of NC
           Holbrook, Vetril       3:23-cv-00956   US District Court Western
 6                                                     District of NC
 7         Holden, Walter         3:19-cv-05085   US District Court Northern
                                                       District of CA
 8        Hueschen, Lee A.        3:21-cv-04937    US District Court of NE
 9
         Jackson, Eddie Ray       3:23-cv-01572   US District Court Middle
10                                                    District of FL
          Jacobs, Billie June     3:22-cv-02969   US District Court Middle
11                                                    District of NC
           Jansen, Jeffrey        3:22-cv-08891   US District Court of MN
12

13         Jilnicki, Robert       3:19-cv-06047   US District Court Middle
                                                      District of FL
14        Jobman, Jeffrey T.      3:22-cv-00093   US District Court of NE

15         Jones, Sheldon         3:22-cv-04265   US District Court Middle
                                                       District of GA
16
          King Jr., Arthur J.     3:21-cv-09294   US District Court Northern
17                                                     District of GA
        King, Richard Douglas     3:22-cv-08859   US District Court Southern
18                                                     District of CA
            Kirby, Robert         3:21-cv-08447   US District Court Eastern
19                                                     District of CA
20        Lafrance, Adam J.       3:22-cv-05977   US District Court Eastern
                                                       District of MI
21         Lamar, Derrick         3:22-cv-06389   US District Court Middle
                                                       District of FL
22
           Locsin, Douglas        3:23-cv-02571   US District Court Eastern
                                                       District of CA
23
          Lubischer, David        3:23-cv-02962   US District Court Western
24                                                     District of PA
             Mee, Kevin           3:20-cv-01237    US District Court of ID
25

26    Mistich, Raymond Anthony    3:23-cv-04015   US District Court Eastern
                                                      District of LA
27         Moreno, Estela         3:23-cv-02681   US District Court Central
                                                      District of CA
28


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 1
               Case Name            MDL Case No.        Transferor Court
 2           Myers, Philip           3:19-cv-04411   US District Court Eastern
                                                         District of MO
 3
           Nederhoff, David          3:22-cv-07287   US District Court of MN
 4
          Oehlmann, Michael          3:20-cv-03067    US District Court of NJ
 5
          Orsborne, Mark P.          3:22-cv-09041    US District Court of MA
 6

 7        Pineda, Lesbia M.          3:20-cv-02634   US District Court Middle
                                                         District of AL
 8          Pridgen, Jerry           3:23-cv-03025   US District Court Eastern
                                                         District of NC
 9
      Prieto-Rodriguez, Miguel A.    3:22-cv-04833   US District Court of PR
10
        Rotella, Thomas Phillip      3:21-cv-10050   US District Court Western
11                                                        District of NY
            Rowland, Dan             3:22-cv-06660   US District Court Central
12                                                        District of CA
13           Schrag, Paul            3:22-cv-08888   US District Court Southern
                                                          District of FL
14         Seaman, Charles           3:21-cv-02546   US District Court Middle
                                                          District of FL
15        Sheppard, Christine        3:16-cv-05650    US District Court of HI
16
           Somach, Michael           3:19-cv-06048   US District Court Middle
17                                                        District of FL
          Southerland, Willie        3:19-cv-06049   US District Court Middle
18                                                        District of FL
          Sparkman, George           3:21-cv-06497   US District Court Southern
19                                                        District of CA
20          Stevens, Robert          3:22-cv-03859   US District Court Middle
                                                          District of FL
21          Stormes, Lacy            3:19-cv-06026   US District Court Central
                                                          District of CA
22
           Strickland, Silas         3:23-cv-02509   US District Court Southern
                                                          District of GA
23
         Teague, JaRon Shawn         3:23-cv-04605   US District Court Western
24            La'vickta                                   District of KY
           Thuss, Robert W.          3:19-cv-07533   US District Court Northern
25                                                        District of GA
26          Tyler, William           3:22-cv-09089   US District Court Eastern
                                                          District of MO
27     Vanlandingham, Clifford       3:23-cv-03549   US District Court Eastern
                                                          District of MO
28


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 1
                     Case Name             MDL Case No.                Transferor Court
 2               Vincent, Roger             3:23-cv-00648            US District Court of ID
 3
                Wasson, William              3:22-cv-05412          US District Court Central
 4                                                                       District of CA
                Weaver, Douglas              3:23-cv-00352          US District Court Eastern
 5                                                                       District of MI
                  White, James               3:23-cv-03550          US District Court Eastern
 6                                                                       District of MO
 7                Wood, James                3:23-cv-03608          US District Court Eastern
                                                                         District of MO
 8              Wright, Winston              3:23-cv-03609          US District Court Eastern
                                                                         District of MO
 9
               Yoder, Howard H.              3:22-cv-03140          US District Court Southern
10                                                                       District of OH
                 Zeig, Rosemary              3:22-cv-05047           US District Court of MN
11
                  Zenz, Leo L.               3:23-cv-02148          US District Court Northern
12                                                                       District of OH
13

14
     Wave 9 Schedule:
15

16                             Event                                                Date
     The parties should file a letter brief identifying any                      8/30/2025
17   disputes over the applicable state law for the wave 8 cases.
     For cases where that is undisputed, the parties should file
18   a stipulation identifying the governing state law.
19
20   Wave 9A Schedule

21
                            Event                                                  Date
22   Close of Wave 9A fact discovery                                            2/10/2025

23
     Plaintiffs’ expert reports due.                                            2/14/2025
24

25
     Monsanto’s expert reports due.                                             3/17/2025
26
27   Close of expert discovery.                                                 4/17/2025
28


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 1   Wave 9B Schedule

 2
                            Event                                Date
 3   Close of Wave 9B fact discovery                          3/12/2025
 4

 5   Plaintiffs’ expert reports due.                          4/11/2025

 6
     Monsanto’s expert reports due.                           5/12/2025
 7

 8
     Close of expert discovery.                               6/12/2025
 9

10
     Wave 9C Schedule
11

12                          Event                                Date
13   Close of Wave 9C fact discovery                          4/11/2025

14
     Plaintiffs’ expert reports due.                          5/13/2025
15

16
     Monsanto’s expert reports due.                           6/13/2025
17

18   Close of expert discovery.                               7/14/2025
19   Wave 9D Schedule
20

21                          Event                                Date
     Close of Wave 9D fact discovery                          5/12/2025
22

23   Plaintiffs’ expert reports due.                          6/13/2025
24

25   Monsanto’s expert reports due.                           7/14/2025

26
     Close of expert discovery.                               8/14/2025
27

28


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 1   Wave 9E Schedule

 2
                            Event                                              Date
 3   Close of Wave 9E fact discovery                                        6/13/2025
 4

 5   Plaintiffs’ expert reports due.                                        7/14/2025

 6
     Monsanto’s expert reports due.                                         8/14/2025
 7

 8
     Close of expert discovery.                                             9/15/2025
 9

10
     Wave 9 Briefing Schedule
11
                             Event                                             Date
12
     Monsanto’s Daubert and summary judgment briefs due.                    9/22/2025
13   Plaintiffs’ Daubert motions due                                        9/22/2025

14
     Oppositions re: Daubert and summary judgment                           10/13/2025
15   due.
     Replies re: Daubert and summary judgment due.                          10/27/2025
16
     Daubert hearing (if necessary).                                           TBD
17

18

19   Wave 9 Case Assignments

20          The below cases are assigned to Wave 9 and are assigned the below sub-waves for expert and
21   discovery purposes as follows.
22
     Wave 9A
23

24
                    Case Name           MDL Case No.              Transferor Court
25               Anderes, Fred           3:24-cv-01114         US District Court Eastern
                                                                    District of NY
26           Angers, John Matthew         3:24-cv-01594        US District Court Western
                                                                    District of LA
27
                 Bailey, Ronald           3:24-cv-01595         US District Court of NJ
28


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 1
               Case Name       MDL Case No.          Transferor Court
 2         Baker, Patty K.      3:24-cv-01112    US District Court Eastern
                                                      District of MO
 3
           Bartley, Sharon      3:24-cv-00734    US District Court Eastern
 4                                                    District of NC
          Bickel, Augustine     3:24-cv-03126    US District Court Northern
 5                                                     District of IA
           Billingsley, Sue     3:18-cv-05309    US District Court Northern
 6                                                    District of MS
 7        Black, Sharon J.      3:24-cv-01111    US District Court Eastern
                                                      District of WI
 8        Bonilla, Eleanore     3:24-cv-03971    US District Court Eastern
                                                      District of LA
 9
           Bowman, Rory         3:24-cv-00760    US District Court Eastern
10                                                    District of NY
            Box, Robert         3:24-cv-01233    US District Court Eastern
11                                                    District of MO
         Bozeman Sr., Danny     3:24-cv-03827    US District Court Middle
12                                                    District of LA
13        Breeden, Franklin     3:24-cv-01125    US District Court Southern
                                                      District of TX
14         Brettin, Richard     3:24-cv-01110    US District Court Northern
                                                       District of IN
15         Bridges, Kelly       3:24-cv-01617    US District Court Northern
                                                      District of GA
16
          Brooks, Lucinda       3:24-cv-01153    US District Court Eastern
17                                                    District of MO
           Brown, Carolyn       3:23-cv-05240    US District Court Western
18                                                    District of PA
          Caliste, Kenneth      3:24-cv-03884    US District Court Eastern
19                                                    District of LA
20          Cano, Maria         3:24-cv-01241    US District Court Eastern
                                                      District of MO
21        Caprera, Anthony      3:24-cv-02860    US District Court Eastern
                                                      District of LA
22
          Carpenter, Elaine     3:24-cv-00938    US District Court Southern
                                                      District of FL
23
          Carptenter, Chad      3:24-cv-01127    US District Court Northern
24                                                     District of IL
         Chambers, James O.     3:24-cv-00510    US District Court Eastern
25                                                    District of MO
26        Chappell, Harold      3:24-cv-02019    US District Court Northern
                                                      District of GA
27        Charles Jr., Peter    3:24-cv-00735    US District Court Eastern
                                                      District of MO
28


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 1
               Case Name        MDL Case No.        Transferor Court
 2        Coffee, Raymond        3:24-cv-01212    US District Court of CO
 3
            Cole, Linda          3:24-cv-01231   US District Court Eastern
 4                                                    District of MO
      Cooper-Heimann, Deborah    3:24-cv-00509   US District Court Eastern
 5                                                    District of MO
           Creecy, Alana         3:24-cv-01396   US District Court Eastern
 6                                                    District of LA
 7         Danner, Donald        3:24-cv-02858   US District Court Eastern
                                                      District of LA
 8       Darbonne, Rayford       3:24-cv-03944   US District Court Western
                                                      District of LA
 9
         Davenport, Lasonta      3:24-cv-03829   US District Court Middle
10                                                    District of LA
           Dawson, Joseph        3:24-cv-00505   US District Court Eastern
11                                                    District of MO
       Deckman, Todd Charles     3:24-cv-03429   US District Court Southern
12                                                    District of CA
13        Delicino, Patricia     3:24-cv-01106   US District Court Eastern
                                                      District of MO
14          Dent, George         3:24-cv-01397   US District Court Eastern
                                                      District of LA
15       DeRobbio, Michael       3:20-cv-06776   US District Court Eastern
                                                      District of MO
16
            Draten, Linda        3:24-cv-01398   US District Court Middle
17                                                    District of LA
           Dube, Rosalie         3:24-cv-01618   US District Court Middle
18                                                    District of FL
            Ellis, Henry         3:24-cv-03430   US District Court Middle
19                                                    District of LA
20          Evans, Garry         3:24-cv-01619   US District Court Eastern
                                                      District of MO
21        Faulkner, Randall      3:24-cv-02855    US District Court of MD
22
         Gaunichaux, Kendra      3:24-cv-01399   US District Court Eastern
                                                      District of LA
23
           Gin, Kimberly         3:24-cv-02010   US District Court Eastern
24                                                    District of MO
          Gomez, Richard         3:24-cv-03495   US District Court Southern
25                                                    District of FL
26          Green, Cody          3:24-cv-03165   US District Court Western
                                                      District of LA
27           Gros, Brad          3:24-cv-03885   US District Court Eastern
                                                      District of LA
28


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 1   Wave 9B

 2

 3                  Case Name       MDL Case No.         Transferor Court
               Bergeret, Dennis      3:23-cv-04960   US District Court Eastern
 4                                                        District of MO
 5             Brookner, Mendel      3:23-cv-04840   US District Court Southern
                                                          District of FL
 6             Burton, Michael J.    3:24-cv-03223   US District Court Central
                                                          District of CA
 7              Coombs, James        3:24-cv-01253   US District Court Eastern
                                                          District of MO
 8
                 Cottrell, Billy     3:24-cv-01115   US District Court Western
 9                                                        District of AR
               Delgado, Patricia     3:24-cv-01264   US District Court Eastern
10                                                        District of MO
11              Dimock, Gene         3:24-cv-01128   US District Court Northern
                                                          District of TX
12             Hammer, DeVon         3:24-cv-02003   US District Court Eastern
                                                          District of MO
13              Harrison, Joe D.     3:21-cv-03602   US District Court Eastern
                                                          District of OK
14
                Harrison, Larry      3:24-cv-00737   US District Court Eastern
15                                                        District of MO
               Hartman, Carlton      3:24-cv-01894    US District Court of CO
16
                 Henrich, Jack       3:20-cv-03728   US District Court Northern
17                                                         District of IA
18             Jashinsky, Robert     3:24-cv-00528   US District Court Central
                                                          District of CA
19               Juehring, Lee       3:24-cv-01400   US District Court Southern
                                                           District of IL
20              Kassabian, Jay       3:24-cv-03622    US District Court of MA
21
                Kaufmann, Sue        3:24-cv-00738   US District Court Eastern
22                                                        District of MO
           Khadavi, Arash Alex       3:24-cv-03125   US District Court Central
23                                                        District of CA
               Kincade, Charles      3:24-cv-01254   US District Court Eastern
24                                                        District of MO
25             King, Michael A.      3:24-cv-02018   US District Court Southern
                                                          District of CA
26             Kocur, Carol Mae      3:24-cv-01445    US District Court of MN
27
                 Linszky, Peter      3:24-cv-00513    US District Court of NJ
28


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 1
               Case Name         MDL Case No.         Transferor Court
 2          Loeb, Steven          3:24-cv-03830   US District Court Middle
                                                       District of LA
 3
            Maalik, Dhafir        3:24-cv-00792   US District Court Northern
 4                                                      District of IL
          Maynard, Thomas         3:24-cv-03432   US District Court Eastern
 5                                                     District of MO
          McAlister, James        3:24-cv-00684   US District Court Western
 6                                                     District of PA
 7      McKemie, William M.       3:20-cv-07324   US District Court Western
                                                       District of TX
 8           Meisner, Jon         3:24-cv-00941    US District Court of MN
 9
          Merrion, James L.       3:24-cv-00503   US District Court Middle
10                                                     District of PA
         Michaelson, Edward       3:24-cv-00686   US District Court Western
11                                                     District of PA
           Pawlowski, John        3:24-cv-01401    US District Court of NJ
12

13          Petinga, Velna        3:24-cv-00694   US District Court Eastern
                                                       District of WI
14        Pintar, Patricia A.     3:24-cv-00516   US District Court Southern
                                                        District of IN
15         Queeno, Donald         3:24-cv-00688   US District Court Western
                                                       District of NY
16
           Rieffel, Carolyn       3:24-cv-02859   US District Court Eastern
17                                                     District of LA
          Rufty, Maureen A.       3:24-cv-02856   US District Court Northern
18                                                     District of OH
         Sanford, Charles E.      3:24-cv-03946   US District Court Middle
19                                                     District of LA
20        Sheffield, Steve D.     3:24-cv-01877   US District Court Northern
                                                       District of AL
21         Siciliano, Robert      3:24-cv-00842   US District Court Southern
                                                       District of FL
22
          Smith, Thomas E.        3:24-cv-03832   US District Court Southern
                                                       District of MS
23
           Stratton, Richard      3:23-cv-05877   US District Court Eastern
24                                                     District of MO
        Villalobos, Addon Urra    3:24-cv-01407   US District Court Middle
25                                                     District of FL
26         Vopelak, Derek         3:24-cv-01688   US District Court Northern
                                                        District of IA
27         Williams, Leon         3:24-cv-01155   US District Court Northern
                                                        District of IA
28


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 1
                 Case Name         MDL Case No.        Transferor Court
 2         Young, John Gordon       3:18-cv-03514    US District Court of SC
 3

 4

 5   Wave 9C

 6

 7                 Case Name       MDL Case No.         Transferor Court
                Durand, Louis       3:24-cv-02861   US District Court Eastern
 8                                                       District of LA
 9             Gallagher, Edward    3:24-cv-01154   US District Court Northern
                                                          District of IL
10         Gray, Nancy Huerstel     3:24-cv-01733   US District Court Eastern
                                                         District of LA
11             Grey, William R.     3:24-cv-01611   US District Court Northern
                                                          District of IA
12
                 Hunt, Harold       3:24-cv-01620   US District Court Northern
13                                                       District of OH
               Johnson, Deborah     3:19-cv-04017    US District Court of MN
14
          Keene Williams, Mary      3:19-cv-04783   US District Court Northern
15              Kathyrn                                  District of CA
16         Kennedy, Thomas          3:24-cv-01622   US District Court Eastern
                                                         District of MO
17             Kerchner, Gary R.    3:24-cv-00517   US District Court Eastern
                                                         District of MO
18              Kirkland, Roger     3:24-cv-03620    US District Court of SC
19
                 Kline, Judith      3:24-cv-03030    US District Court of MN
20
                Korytko, Mark       3:24-cv-03052   US District Court Western
21                                                       District of NY
                Larrabee, Tony      3:24-cv-00740   US District Court Eastern
22                                                      District of MO
23                Linn, James       3:24-cv-00741   US District Court Western
                                                         District of AR
24         Marrone, Stephanie       3:23-cv-05070    US District Court of NJ
25
                Martin, Thomas      3:23-cv-05241    US District Court of NJ
26
          Matlock, Claude Mark      3:24-cv-03005   US District Court Middle
27                                                       District of TN
               McCurry, Michael     3:24-cv-01623   US District Court Southern
28                                                       District of TX

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 1
               Case Name         MDL Case No.        Transferor Court
 2        McJunkins, Steven       3:24-cv-00875   US District Court Eastern
                                                      District of MO
 3
       McMichael, Betty Anne      3:24-cv-02857   US District Court Eastern
 4                                                     District of LA
          McMullen, Donna         3:24-cv-00742   US District Court Eastern
 5                                                    District of MO
             Meglio, Gail         3:24-cv-03431   US District Court Eastern
 6                                                    District of MO
 7          Michel, Kathy         3:24-cv-00876   US District Court Western
                                                      District of MO
 8         Moon, Thomas           3:24-cv-00744   US District Court Eastern
                                                      District of MO
 9
        Niescierowicz, Mariola    3:21-cv-05319   US District Court Central
10                                                     District of CA
              Nix, Troy           3:24-cv-00745   US District Court Eastern
11                                                    District of MO
           Novich, Robert         3:24-cv-00756   US District Court Eastern
12                                                    District of MO
13         Petinga, Charles       3:24-cv-00685   US District Court Eastern
                                                       District of WI
14         Pollack, Celeste       3:24-cv-00687   US District Court Central
                                                       District of IL
15          Popp, Thomas          3:24-cv-01613   US District Court Western
                                                       District of WI
16
          Radcliffe, William      3:24-cv-00690    US District Court of NJ
17
          Rodriguez, Wendi        3:24-cv-03490   US District Court Eastern
18                                                    District of MO
             Rush, Larry          3:24-cv-00515    US District Court of NJ
19
20          Sapp, Wanda           3:24-cv-01150   US District Court Middle
                                                      District of FL
21       Settembrini, Angelo      3:24-cv-01151   US District Court Middle
                                                      District of FL
22
            Sieve, Darcy          3:23-cv-06160   US District Court of MN
23
            Simas, Elvira         3:24-cv-03560   US District Court Eastern
24                                                     District of MO
           Stains, Charles        3:24-cv-01403   US District Court Eastern
25                                                     District of LA
26         Stewart, Donna         3:24-cv-00691   US District Court Southern
                                                        District of IL
27        Stiegelmeyer, Kurt      3:24-cv-00940    US District Court of MN

28


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 1
                    Case Name       MDL Case No.         Transferor Court
 2              Sweeney, Kevin       3:24-cv-00692   US District Court Southern
                                                          District of NY
 3
                Swindle, Gayle       3:24-cv-03492   US District Court Eastern
 4                                                        District of MO
                 Talley, Seth        3:24-cv-01876   US District Court Eastern
 5                                                        District of NC
               Taylor, James H.      3:24-cv-00759   US District Court Eastern
 6                                                        District of MO
 7              Taylor, Jeanette     3:24-cv-00880   US District Court Eastern
                                                          District of KY
 8              Taylor, Marion       3:24-cv-00761   US District Court Southern
                                                          District of TX
 9

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11   Wave 9D

12

13                Case Name         MDL Case No.         Transferor Court
         Allen, Dorothy Elizabeth    3:23-cv-05239   US District Court Southern
14                                                        District of CA
           Blanchard, Wayne J.       3:24-cv-02489   US District Court Western
15                                                        District of LA
16              Bryant, Kenzie       3:23-cv-04959   US District Court Southern
                                                          District of TX
17               Decker, Brian       3:23-cv-04499   US District Court Northern
                                                           District of IA
18             DiBlasio, Joanne      3:23-cv-06434   US District Court Middle
                                                          District of FL
19
               Donofrio, Edmund      3:24-cv-01229   US District Court Eastern
20                                                        District of MO
                George, Dalton       3:24-cv-01225   US District Court Southern
21                                                         District of IN
            Green, Brian Leroy       3:23-cv-05878   US District Court Northern
22                                                        District of GA
23       Gutmann, Roland Wayne       3:24-cv-01105   US District Court Northern
                                                          District of NY
24             Hardman, Melissa      3:23-cv-03759   US District Court Western
                                                          District of WI
25
           Harootunian, Michael      3:24-cv-02864    US District Court of MA
26
                Herrold, Frank       3:24-cv-01237   US District Court Eastern
27                                                       District of MO
                Homa, Richard        3:24-cv-01103   US District Court Eastern
28                                                       District of PA

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 1
               Case Name       MDL Case No.         Transferor Court
 2        Ingram, Margaret      3:24-cv-01244    US District Court Eastern
                                                     District of MO
 3
            Jones, Albert       3:24-cv-01395    US District Court of MA
 4
           Krystofik, Eric      3:24-cv-00939    US District Court Western
 5                                                    District of NY
           Labor, Charles       3:24-cv-01238    US District Court Eastern
 6                                                    District of MO
 7        Mesimer, Norma        3:24-cv-01625    US District Court Eastern
                                                      District of MO
 8      Murphy, Lawrence E.     3:23-cv-04937    US District Court Northern
                                                      District of MS
 9
           Parker, Danny        3:24-cv-00757    US District Court Eastern
10                                                    District of MO
            Pixley, Roger       3:24-cv-01149    US District Court Western
11                                                    District of MI
           Polsley, Darin       3:20-cv-07107    US District Court Northern
12                                                    District of CA
13         Powell, Richard      3:21-cv-02123    US District Court Eastern
                                                      District of AR
14         Ramey, Lenvil        3:17-cv-05878    US District Court Western
                                                      District of KY
15          Reed, Samuel        3:24-cv-00877    US District Court Eastern
                                                      District of MO
16
          Repine, Michael       3:23-cv-06435    US District Court Western
17                                                    District of PA
          Roberts, David E.     3:24-cv-02055    US District Court Northern
18                                                    District of CA
            Sanders, Jake       3:23-cv-04694     US District Court of MT
19
20         Shapiro, Robert      3:24-cv-00882    US District Court Eastern
                                                      District of MO
21        Siqueiros, Thelma     3:24-cv-02957    US District Court Northern
                                                      District of CA
22
           Smith, Jonathan      3:24-cv-01626    US District Court Eastern
                                                      District of MO
23
            Stein, Audrey       3:24-cv-01102    US District Court Western
24                                                    District of WI
          Sterling, Danielle    3:24-cv-00881    US District Court Eastern
25                                                    District of MO
26       Thibodeaux, Tobby      3:24-cv-01404    US District Court Eastern
                                                      District of LA
27        Thompson, Nancy       3:24-cv-00762    US District Court Northern
                                                      District of NY
28


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 1
                   Case Name            MDL Case No.              Transferor Court
 2          Van Der Zandan, Scott        3:19-cv-08268          US District Court of OR
 3
                Wainer, Bruce             3:23-cv-04606       US District Court Eastern
 4                                                                 District of LA
                 Ward, Marcia             3:24-cv-03494       US District Court Eastern
 5                                                                 District of MO
                 Ware, Connie             3:24-cv-00914       US District Court Northern
 6                                                                 District of OH
 7              Wassell, Jeffrey          3:24-cv-00763       US District Court Eastern
                                                                   District of PA
 8             Whatley, Samuel            3:24-cv-02004       US District Court Eastern
                                                                   District of MO
 9
               Wicklund, David            3:24-cv-01152       US District Court Middle
10                                                                 District of FL
               Williams, Kenneth          3:24-cv-00767       US District Court Eastern
11                                                                 District of MO
                 Wilson, Carl             3:24-cv-00878       US District Court Eastern
12                                                                 District of MO
13             Wright, Winston            3:24-cv-02862        US District Court of MA

14

15
     Wave 9E
16
            Any cases added to the MDL or moved from the inactive docket from the date of this Order
17
     until October 4, 2024 will be automatically placed in MDL Wave 9E.
18

19
20

21

22   Date: July _18 , 2024                   _____________________________________
                                               HONORABLE VINCE CHHABRIA
23                                             UNITED STATES DISTRICT COURT
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